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IN 'I`HE UNITED S'I'ATES DISTRIC'I` COURT HLED B'Y‘/"{~OD-C-

FoR THE wEsTERN DISTRICT oF TENNEssEEOS
wEsTERN DIvIsIoN JUL 22 PH |: 53

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'W csc zw, MPHS

 

UNITED STATES OF AMERICA
Plaintiff,

V.

7%§@“#~

Criminal No. Q§Li¢gQQLEtMl

(60-Day Continuance)

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I`IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23, 2005, with trial to take place
on the October, 2005, rotation calendar with the time excluded

under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 22nd day of July, 2005. //,,E~`\\\

Thfs document entered on the docket sheet ln compilanca
with ama 55 and/or 32(|:>) mch on '7' '

 
 

Case 2:04-cr-20402-.]PI\/| Document 44 Filed 07/22/05 Page 2 of 3 Page|D 82

so ORDERED this zzm-day of July, 2005.

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JGN PHIPPS MccALLA
UN ran sTATEs DISTRICT JUDGE

 

/MSM

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Assistant United States Attorney

(

 

 

 

 

Counsel for Defendant(s)

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20402 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

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Greg Gilluly

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167 N. Main St.

Ste 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

